               Case 2:22-cv-01366-JHC Document 13 Filed 02/03/23 Page 1 of 2




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                                                                   U.S. District Judge John H. Chun
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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
 9   SOCIAL POSITIONING INPUT
10   SYSTEMS, LLC,                                      No.: 2:22-cv-01366-JHC

11                    Plaintiff,                        NOTICE OF VOLUNTARY DISMISSAL
                                                        PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
12           v.
13   VALVE CORPORATION,
14
                      Defendant.
15
16           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Social Positioning
17
     Input Systems, LLC hereby gives notice that this action is voluntarily dismissed. Defendant
18
19   Valve Corporation has not served an answer or motion for summary judgment in this action.

20   Accordingly, Plaintiff notices voluntary dismissal of this action, without prejudice. See Fed. R.
21
     Civ. P. 41(a)(1)(B).
22
23           Dated: February 2, 2023.

24                                                        MEYLER LEGAL, PLLC
25
26                                                       /S/ SAMUEL M. MEYLER
                                                         SAMUEL M. MEYLER, WSBA #39471
27
                                                         1700 Westlake Ave. N., Ste. 200
28                                                       Seattle, WA 98109
                                                         Tel: 206-876-7770
29                                                       Fax: 206-876-7771
30                                                       E-mail: samuel@meylerlegal.com

      NOTICE OF VOLUNTARY DISMISSAL PURSUANT                               MEYLER LEGAL, PLLC
      TO F.R.C.P. 41(a)(1)(A)(i) - 1                                  1700 WESTLAKE AVE. N., STE 200
      (Case No. 2:22-cv-01366-JHC)                                     SEATTLE, WASHINGTON 98109
                                                                    TEL: (206) 876-7770  FAX: (206) 876-7771
              Case 2:22-cv-01366-JHC Document 13 Filed 02/03/23 Page 2 of 2




                                               Counsel for Plaintiff Social Positioning Input
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                                               Systems, LLC
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     NOTICE OF VOLUNTARY DISMISSAL PURSUANT                     MEYLER LEGAL, PLLC
     TO F.R.C.P. 41(a)(1)(A)(i) - 2                        1700 WESTLAKE AVE. N., STE 200
     (Case No. 2:22-cv-01366-JHC)                           SEATTLE, WASHINGTON 98109
                                                         TEL: (206) 876-7770  FAX: (206) 876-7771
